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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

ASTRAZENECA PHARMACEUTICALS LP,
ASTRAZENECA UK LIMITED, and
ASTRAZENECA AB,

Plaintiffs, Case No. 1 : 17-cv~13075-RMB-KMW
v.

FRESENIUS KABI USA, LLC,

Defendant.

 

 

M@SED] ORDER OF DISMISSAL WITHOUT PREJUDICE
PURSUANT TO FED. R. CIV. P. 41(a)(2)

THIS MATTER having been opened by Flaintiffs AstraZeneca Pharmaceuticals LP,
AstraZeneca UK Limited, and AstraZeneca AB (collectively “Plaintiffs”), seeking an order to
dismiss their Complaint Without prejudice in the above-captioned action pursuant to Rule
41(a)(2) of the Federal Rules of Civil Procedure; Defendant Fresenius Kabi USA, LLC
(“Defendant”) having neither filed an answer nor a motion for summary judgment; the Court
having been informed that the parties have reached a negotiated resolution of this action; and for
good cause shown,

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IT ls onthis el day ofFebmary, 2018,
ORDERED that, pursuant to Fed. R. Civ. P. 41(a)(2), Plaintiffs’ Complaint in the above-

captioned action is hereby DISM]SSED WITHOUT PREJUDICE.

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HoN. RENEE MARIE BuMB
United States District Judge

 

 

